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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
             vs.                          )      CAUSE NO. 3:08-CR-65 RLM
                                          )
 JOE EVANS (3)                            )


                                      ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on July 21, 2008 [Doc. No. 22].

 Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Joe Evans’s plea of guilty, and FINDS the defendant guilty

 of Count 1 of the Indictment, in violation of 18 U.S.C. § 922(j).

       SO ORDERED.

       ENTERED:       August 11, 2008



                                             /s/ Robert L. Miller, Jr.
                                       Chief Judge, United States District Court
                                       Northern District of Indiana
